Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 1 of 17 Page ID #:311




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 8
 9                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                          SOUTHERN DIVISION
11
12   MARIANO BENITEZ, individually
     and on behalf of all others similarly       Case No. 8:19-cv-00098-JLS-DFM
13   situated,
14                                               PLAINTIFF’S NOTICE OF
                   Plaintiff,                    MOTION AND MOTION TO
15                                               ENFORCE SETTLEMENT
16   v.
                                                 Date: September 11, 2020
17   POWERLINE FUNDING LLC, a                    Time: 10:30 AM
18   New York limited liability company,         Courtroom: 10A
                                                 Complaint Filed: January 21, 2019
19                                               Judge: Hon. Josephine Staton
                   Defendant.
20
21
           PLEASE TAKE NOTICE THAT on Friday, September 11, 2020, at 10:30
22
     a.m. or as soon thereafter as the matter may be heard, counsel for Plaintiff Mariano
23
     Benitez (“Plaintiff” or “Benitez”) shall appear before the Honorable Josephine L.
24
     Staton or any judge sitting in her stead in Courtroom 10A of the United States
25
     District Court for the Central District of California located at 411 West Fourth
26
     Street, Santa Ana, CA, 92701 and present his Motion to Enforce Settlement.
27
28
                                MOTION TO ENFORCE SETTLEMENT
                                              -1-
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 2 of 17 Page ID #:312




 1         Plaintiff moves the Court for an Order granting Plaintiff’s Motion to Enforce
 2   Settlement. This Motion is based on this Notice and Motion, the Memorandum in
 3   Support of the Motion and the exhibits attached thereto, oral argument of counsel,
 4   and any other matter that may be submitted at the hearing.
 5         This motion is made following the conference of counsel pursuant to L.R. 7-
 6   3, which took place on May 29, 2020.
 7
 8                                          Respectfully Submitted,

 9                                          MARIANO BENITEZ, individually and on
10                                          behalf of all others similarly situated,

11   Dated: June 12, 2020                   By: /s/ Taylor T. Smith
12                                                  One of Plaintiff’s Attorneys

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                               MOTION TO ENFORCE SETTLEMENT
                                             -2-
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 3 of 17 Page ID #:313




 1                                           TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES ................................................................................. ii
 3   I.      Introduction ...................................................................................................1
 4   II.     Legal, Factual, and Procedural Background ..............................................2
 5   III.    Argument .......................................................................................................6
 6           A.       The Parties Reached An Agreement On All Necessary Terms. .....7
 7           B.       The Parties Intended To Be Bound By The Settlement
 8                    Agreement. ...........................................................................................9
 9   IV.     Conclusion ....................................................................................................11
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           MOTION TO ENFORCE SETTLEMENT
                                                               -i-
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 4 of 17 Page ID #:314




 1                                        TABLE OF AUTHORITIES
 2   Callie v. Near, 829 F.2d 888 (9th Cir. 1987).........................................................6, 9
 3   City Equities Anaheim, Ltd., 22 F.3d 954 (9th Cir. 1994) .........................................6
 4   Facebook, Inc. v. Pac. Nw. Software, Inc., 640 F.3d 1034 (9th Cir. 2011)...........6, 7
 5   J & J Sports Prods., Inc. v. Chai, No. 1:09-CV-00450 AWI, 2010 WL 2991479
 6                   (E.D. Cal. July 28, 2010), .....................................................................8
 7   Karubian v. Kaiser Ventures, LLC, No. EDCV 17-597 PSG (EX), 2018 WL
 8                   10517183 (C.D. Cal. Oct. 17, 2018) .................................................6, 7
 9   Lee v. Retail Store Employee Bldg. Corp., No. 15-CV-04768-LHK, 2018 WL
10                   385207 (N.D. Cal. Jan. 10, 2018) .....................................................7, 8
11   McKelvey v. Am. Seafoods, No. C99-2108L, 2000 WL 33179292 (W.D. Wash. Apr.
12                   7, 2000) .................................................................................................8
13   Sangerman v. Theriault Enterprises Inc., No. C-05-04183 RMW, 2007 WL 707502
14                   (N.D. Cal. Mar. 6, 2007) .......................................................................8
15   Schaffer v. Litton Loan Servicing, LP, No. CV 05-07673 MMM CTX, 2010 WL
16                   9951762 (C.D. Cal. Oct. 18, 2010 ........................................................9
17   TH&T Int'l Corp. v. Elgin Indus., Inc., 216 F.3d 1084 (9th Cir. 2000)...................10
18   TNT Mktg., Inc. v. Agresti, 796 F.2d 276 (9th Cir. 1986) .........................................6
19   Walter v. W. Indus. Inc., No. SACV131503JLSANX, 2015 WL 12765552
20                   (C.D. Cal. Mar. 25, 2015) .....................................................................6
21
22
23
24
25
26
27
28
                                          MOTION TO ENFORCE SETTLEMENT
                                                              - ii -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 5 of 17 Page ID #:315




 1   I.    Introduction
 2         Roughly one hour before the Parties were scheduled to appear for a discovery
 3   dispute telephone conference, an oral agreement was reached to resolve Plaintiff
 4   Mariano Benitez’s (“Plaintiff” or “Benitez”) individual claims against Defendant
 5   Powerline Funding, LLC (“Defendant” or “Powerline”). Following the agreement,
 6   the Parties informed the Court of the settlement, requested that the Court vacate the
 7   discovery conference, and diverted their efforts into memorializing the agreement.
 8   Unfortunately, Powerline now claims that it will not go forward with the previously
 9   agreed upon settlement.
10         Despite Powerline’s desire to renege, the oral agreement entered into by the
11   Parties is binding and enforceable. First, the oral agreement is straightforward and
12   includes all necessary terms: Powerline agreed to pay Plaintiff an agreed upon
13   single lump sum payment and agree that if it were to engage in telemarketing in the
14   future it would implement policies and procedures to comply with the TCPA. In
15   return, Benitez would release Powerline from any and all claims that may arise out
16   of the same conduct alleged in the Complaint.
17         Second, the Parties actually intended to be bound by the agreement.
18   Immediately after the agreement was reached, Plaintiff (on behalf of both Parties)
19   informed the Honorable Magistrate Judge McCormick that an agreement was
20   reached and requested that the Court terminate the pending discovery dispute.
21   Moreover, Powerline’s own attorney also conceded that the Parties had reached an
22   agreement. Nevertheless, Powerline now refuses to adhere to the agreement. Put
23   simply, both Parties willingly entered into a complete, enforceable settlement
24   agreement.
25         Accordingly, and as explained below, the Court should grant the instant
26   Motion and enforce the Parties’ settlement agreement.
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                                MOTION TO ENFORCE SETTLEMENT
28                                            -1-
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 6 of 17 Page ID #:316




 1   II.   Legal, Factual, and Procedural Background
 2   Pre-Settlement Litigation
 3         On January 21, 2019, Plaintiff filed his class action complaint against
 4   Powerline alleging widespread violations of the Telephone Consumer Protection
 5   Act, 47 U.S.C. § 227, et seq. (“TCPA” or “Act”). (Dkt. 1.) On April 29, 2019,
 6   Powerline moved to dismiss the case arguing that the Court lacked jurisdiction.
 7   (Dkt. 28.) The Court denied the motion to dismiss on June 6, 2019. (Dkt. 33.)
 8   Thereafter, the Court entered a Scheduling Order (dkt. 37) and the case proceeded
 9   to discovery.
10         On June 21, 2019, Plaintiff served his first set of discovery requests upon
11   Powerline—including interrogatories and requests for the production of documents.
12   (See Declaration of Taylor T. Smith (“Smith Decl.”) ¶ 3, a true and accurate copy of
13   which is attached here to as Exhibit A.) On September 12, 2019, after the
14   withdrawal of Powerline’s second counsel, its current counsel, Ingrid M. Rainey,
15   appeared in the case. (Dkt. 56.) Based on Ms. Rainey’s representation that
16   Powerline’s prior counsel had not spent any time working on the discovery
17   requests, Plaintiff agreed to an additional extension for Powerline to provide
18   responses to discovery requests. (Smith Decl. ¶ 4.) Eventually, on October 25,
19   2019, Powerline provided its responses to Plaintiff’s first set of discovery requests.
20   (Id. ¶ 5.) Unfortunately, Powerline’s responses were largely evasive and repeatedly
21   claimed that it did not place telemarketing calls. (Id.) Instead, Powerline claimed
22   that a third party vendor, Interimagine, placed all of the calls to Plaintiff. (Id.)
23   However, Powerline failed to sufficiently identify Interimagine. (Id.)
24         On November 8, 2019, Plaintiff served a L.R. 37-1 discovery dispute letter
25   on Powerline. (Id. ¶ 6.) The Parties conferred and agreed that Powerline would
26   supplement its discovery responses and then agreed to stipulate to a three-month
27   extension of all deadlines. (Id.) On December 27, 2019, the Court granted the three-
28
                                  MOTION TO ENFORCE SETTLEMENT
                                                 -2 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 7 of 17 Page ID #:317




 1   month stipulation and issued an Order Compelling Discovery, which ordered
 2   Powerline to turn over sufficient information to identify its third party telemarketer,
 3   Interimagine. (Dkt. 63.) To date, Powerline has failed to identify Interimagine.
 4   (Smith Decl. ¶ 7.)
 5         On January 10, 2020, Powerline provided its supplemental responses to
 6   discovery. (Id. ¶ 8.) Once again, Powerline provided evasive responses, failed to
 7   produce a single responsive document, and failed to adequately identify
 8   Interimagine. (Id.) Still at an impasse, the Parties then agreed to utilize Magistrate
 9   Judge Douglas F. McCormick’s informal discovery dispute process. (Id. ¶ 9.) Judge
10   McCormick scheduled a telephonic discovery conference on February 21, 2020, at
11   9:30 a.m. (dkt. 64), which was later rescheduled to February 26, 2020, at 9:30 a.m.
12   (dkt. 65).
13   Settlement Discussions Begin
14         Around this time, the Parties’ began discussing the possibility of settlement.
15   (Smith Decl. ¶ 10.) Throughout the settlement discussions, Powerline has routinely
16   maintained that it is no longer operational and has limited financial resources. (Id. ¶
17   11.) To support this contention, Powerline provided one page of its 2019 tax return.
18   (Id. ¶ 12.) The Parties engaged in numerous telephone calls to negotiate a resolution
19   to the case. (Id. ¶ 13.) Because Powerline was no longer engaged in telemarketing
20   practices (or operational), the Parties quickly agreed to prospective relief, which
21   would include an agreement to implement reasonable policies and procedures to
22   comply with the TCPA if Powerline were to engage in future telemarketing
23   activities. (Id. ¶ 14.) However, the Parties’ struggled to reach a resolution of the
24   monetary aspect. (Id.)
25         On February 26, 2020, having not reached an agreement, the Parties
26   appeared, via telephone, before Judge McCormick to discuss their ongoing
27   discovery dispute. (Dkt. 66.) Following both Parties’ arguments on the dispute,
28
                                 MOTION TO ENFORCE SETTLEMENT
                                               -3 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 8 of 17 Page ID #:318




 1   Judge McCormick requested additional information. (Smith Decl. ¶ 15.)
 2   Specifically, Judge McCormick requested that Plaintiff provide the Court with a
 3   copy of each request, response, and supplemental response relating to Plaintiff’s
 4   first set of discovery request. (Id.) The Court then set a further hearing to discuss
 5   the issues on March 5, 2020, at 9:30 a.m. (dkt. 66), which was rescheduled to
 6   March 11, 2020, at 11:00 a.m. (dkt. 67).
 7         Following the February 26th hearing, settlement discussions intensified with
 8   the exchange of multiple offers. (Smith Decl. ¶ 17.) Throughout the discussions,
 9   Powerline repeatedly claimed that it was no longer operational. (Id.) With the
10   discovery hearing approaching, Plaintiff’s counsel requested that Powerline provide
11   its final offer to settle the dispute. (Id. ¶ 18.) On March 10, 2020, Powerline’s
12   counsel called Plaintiff’s counsel to provide its final settlement offer to resolve
13   Plaintiff’s individual claim. (Id. ¶ 19.) Powerline would pay the total settlement in
14   one lump sum payment. (Id. ¶ 21.)
15         Shortly before the March 11th discovery hearing, Plaintiff’s counsel called
16   Powerline’s attorney, Ingrid Rainey, and accepted Powerline’s final offer. (Smith
17   Decl. ¶ 20.) During the call, the Parties agreed that Plaintiff’s counsel would draft
18   the settlement agreement and Powerline’s counsel expressed that the agreement
19   should be executed as soon as possible. (Id. ¶ 22.) The Parties also agreed to inform
20   Judge McCormick that an agreement had been reached and the discovery dispute
21   was now moot. (Id. ¶ 23.) Plaintiff, on behalf of both Parties, then immediately
22   informed Judge McCormick that the Parties had reached a settlement. (Smith Decl.
23   ¶ 24; see also March 11th Email Communications, a true and accurate copy of
24   which is attached hereto as Exhibit B.) The Court then vacated the hearing
25   regarding the Parties’ discovery dispute. (Dkt. 68.)
26   Post-Settlement Actions
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28
                                 MOTION TO ENFORCE SETTLEMENT
                                                -4 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 9 of 17 Page ID #:319




 1         Thereafter, Plaintiff worked to draft a settlement agreement for Powerline to
 2   review. (Smith Decl. ¶ 28.) On March 12, 2020—one day after the Parties reached
 3   an agreement—Plaintiff emailed Powerline the first draft of the settlement
 4   agreement, which reflected the Parties’ agreed upon terms. (See March 12, 2020
 5   Email Communication, a true and accurate copy of which is attached hereto as
 6   Exhibit C.) The draft settlement agreement accurately reflects the Parties’ complete
 7   agreement. (Smith Decl. ¶ 29.)
 8         On March 17, 2020, Plaintiff’s counsel followed up, via email, regarding
 9   when any suggested edits to the agreement could be expected. (See Smith Decl. ¶
10   31; see also March 17, 2020 Email, a true and accurate copy of which is attached
11   hereto as Exhibit D.) Powerline’s counsel asked Plaintiff to “be patient as we are in
12   a national emergency.” (Smith Decl. ¶ 32; see also Ex. D.) Plaintiff’s counsel
13   followed up again on April 8, 2020. (Smith Decl. ¶ 33.)
14         On April 17, 2020 and April 21, 2020, counsel for both Parties had
15   discussions regarding the settlement. (Smith Decl. ¶ 34.) Powerline’s counsel
16   informed Plaintiff that Powerline would not go through with the previously agreed
17   dollar amount. (Id.) Plaintiff informed Powerline that the Parties had already
18   reached an agreement on the terms of the settlement. (Id.) Moreover, the Parties
19   took steps to end the litigation—including stopping all discovery, informing the
20   Court of the settlement, and requesting that Judge McCormick vacate the discovery
21   dispute hearing. (Id. ¶ 27.) Counsel for both Parties held additional telephone
22   conferrals regarding the settlement agreement on April 29, 2020 and May 4, 2020.
23   (Id. ¶ 35.) Plaintiff informed Powerline that should it not proceed with the
24   settlement along the agreed upon terms, he would move the Court for an Order to
25   enforce the settlement. (Id.)
26         On May 29, 2020, counsel for both Parties conferred by telephone regarding
27   the instant motion. (Smith Decl. ¶ 36.) During the call, Plaintiff reiterated his
28
                                 MOTION TO ENFORCE SETTLEMENT
                                               -5 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 10 of 17 Page ID #:320




  1   intention to file a motion to enforce the settlement agreement based upon the agreed
  2   to terms. (Id.) Powerline’s counsel acknowledged that the Parties had reached an
  3   agreement to settle the case for a specific price, however, she stated that she does
  4   not believe that her client has any intention to go through with the agreement. (Id.)
  5          Based on these facts and as explained below, Plaintiff respectfully requests
  6   that the Court enter an Order enforcing the settlement of Plaintiff’s individual
  7   claims.
  8   III.   Argument
  9          Under federal law, it is well established that district courts possess the power
 10   to enforce settlement agreements entered into by litigants in cases pending before
 11   them. See In re City Equities Anaheim, Ltd., 22 F.3d 954, 957 (9th Cir. 1994)
 12   (citing Autera v. Robinson, 419 F.2d 1197, 1200 (D.C.Cir.1969)) (“[I]t is now well
 13   established that the trial court has power to summarily enforce on motion a
 14   settlement agreement entered into by the litigants while the litigation is pending
 15   before it.”); see also TNT Mktg., Inc. v. Agresti, 796 F.2d 276, 278 (9th Cir. 1986)
 16   (citing In re Suchy 786 F.2d 900, 902–03 (9th Cir. 1985) (“The district court had
 17   inherent power to enforce the agreement in settlement of litigation before it[.]”);
 18   Walter v. W. Indus. Inc., No. SACV131503JLSANX, 2015 WL 12765552, at *2
 19   (C.D. Cal. Mar. 25, 2015); Karubian v. Kaiser Ventures, LLC, No. EDCV 17-597
 20   PSG (EX), 2018 WL 10517183, at *2 (C.D. Cal. Oct. 17, 2018).
 21          To be enforced, a settlement agreement must meet two requirements. First, it
 22   must be a complete agreement. Callie v. Near, 829 F.2d 888, 890 (9th Cir. 1987)
 23   (citation omitted); Karubian, 2018 WL 10517183, at *4. This requires that the
 24   parties have reached an agreement on all necessary terms. Facebook, Inc. v. Pac.
 25   Nw. Software, Inc., 640 F.3d 1034, 1037-38 (9th Cir. 2011). Second, “all parties
 26   must have agreed to the settlement.” Karubian, 2018 WL 10517183, at *4.
 27          As explained below, both of these requirements are met and the Court should
 28
                                  MOTION TO ENFORCE SETTLEMENT
                                                -6 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 11 of 17 Page ID #:321




  1   enforce the agreement to resolve the instant litigation.
  2         A.     The Parties Reached An Agreement On All Necessary Terms.
  3         The Ninth Circuit has held that an agreement need not contain all “material
  4   terms” to be enforceable. Facebook, Inc., 640 F.3d at 1037-38. In doing so, the
  5   court drew a distinction between “material terms” explaining that “a term may be
  6   ‘material’ in one of two ways: It may be a necessary term, without which there can
  7   be no contract; or, it may be an important term that affects the value of the bargain.
  8   Obviously, omission of the former would render the contract a nullity.” Id. at 1037.
  9   However, “a contract that omits terms of the latter type is enforceable under
 10   California law, so long as the terms it does include are sufficiently definite for a
 11   court to determine whether a breach has occurred, order specific performance or
 12   award damages.” Id. at 1038. The court continued by noting that “[t]his is not a
 13   very demanding test[.]” Id.
 14         Moreover, under California law, “[w]hen parties orally agree upon all the
 15   terms and conditions of an agreement with the mutual intention that it shall
 16   thereupon become binding, the mere fact that a formal written agreement to the
 17   same effect is to be prepared and signed does not alter the binding validity of the
 18   oral agreement.” Karubian v. Kaiser Ventures, LLC, No. EDCV 17-597 PSG (EX),
 19   2018 WL 10517183, at *5 (C.D. Cal. Oct. 17, 2018) (citation omitted). However,
 20   “the moving party must demonstrate that the parties intended to be bound to in the
 21   absence of a fully executed agreement.” Id. (citing Schaffer v. Litton Loan
 22   Servicing, LP, No. CV 05-07673 MMM CTX, 2010 WL 9951762, at *9 (C.D. Cal.
 23   Oct. 18, 2010)).
 24         Indeed, courts have enforced settlement agreements in the absence of a
 25   written agreement. In Lee v. Retail Store Employee Bldg. Corp., No. 15-CV-04768-
 26   LHK, 2018 WL 385207 (N.D. Cal. Jan. 10, 2018), appeal dismissed, No. 18-15209,
 27   2018 WL 3825472 (9th Cir. July 20, 2018), the court enforced the parties orally
 28
                                  MOTION TO ENFORCE SETTLEMENT
                                                -7 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 12 of 17 Page ID #:322




  1   agreement to dismiss the action with both parties bearing their attorneys’ fees and
  2   costs. Id. at *6. In Lee, the plaintiffs initially rejected a settlement offer from the
  3   defendant for $25,000. Id. at *5. The plaintiffs subsequently offered to dismiss the
  4   case in totality if each party will bear its own costs and attorneys’ fees. Id. The
  5   defendant accepted the offer to dismiss the action. Id. The district court granted
  6   defendant’s motion to enforce the settlement finding that the parties reached a
  7   complete agreement. Id. at *6. And this finding is not isolated. Rather, courts
  8   routinely enforce oral settlement agreements that have yet to be reduced to a written
  9   form. See J & J Sports Prods., Inc. v. Chai, No. 1:09-CV-00450 AWI, 2010 WL
 10   2991479 (E.D. Cal. July 28, 2010), report and recommendation adopted, No.
 11   1:09CV00450AWIGSA, 2010 WL 3504869, at *2 (E.D. Cal. Sept. 7, 2010)
 12   (enforcing a $5,000 oral agreement to settle an action); McKelvey v. Am. Seafoods,
 13   No. C99-2108L, 2000 WL 33179292, at *2 (W.D. Wash. Apr. 7, 2000) (enforcing
 14   an oral agreement to settle an action for $350); Sangerman v. Theriault Enterprises
 15   Inc., No. C-05-04183 RMW, 2007 WL 707502, at *4 (N.D. Cal. Mar. 6, 2007)
 16   (enforcing an oral agreement to settle the case for $65,000).
 17         In the present case, the Parties reached a complete agreement. The Parties
 18   engaged in substantive negotiations for about a month. Throughout this time,
 19   Powerline’s counsel repeatedly stressed the need to settle the case because the
 20   company possessed limited financial resources. (Smith Decl. ¶ 11.) After Powerline
 21   provided Plaintiff some evidence of its financial condition, Plaintiff engaged in
 22   negotiations to bring about an end to the litigation. (Id. ¶ 13.) Eventually, the Parties
 23   reached an agreement to settle Plaintiff’s individual claims. Powerline agreed to pay
 24   a specific dollar figure and agree to implement policies and procedures to comply
 25   with the TCPA if it were to engage in telemarketing in the future. (Id. ¶ 21.) In
 26   exchange, Powerline would receive a release of all claims that could be brought
 27   against it arising out of the same fact pattern that gave rise to the current litigation.
 28
                                   MOTION TO ENFORCE SETTLEMENT
                                                  -8 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 13 of 17 Page ID #:323




  1   (Id.) The payment was to be made in one lump sum payment. (Id.) No terms
  2   remained to be negotiated. Consequently, it can be said that the Parties reached an
  3   agreement with respect to all necessary terms.
  4         Because an agreement was reached as to all necessary terms, the Court
  5   should enforce the Parties’ oral settlement agreement.
  6         B.     The Parties Intended To Be Bound By The Settlement Agreement.
  7         In addition to reaching an agreement on all necessary terms, the parties “must
  8   have either agreed to the terms of the settlement or [have] authorized their
  9   respective counsel to settle the dispute.” Schaffer v. Litton Loan Servicing, LP, No.
 10   CV 05-07673 MMM JCX, 2012 WL 10274678, at *15 (C.D. Cal. Nov. 13, 2012).
 11   Whether the parties intended to be bound by the agreement is a question of fact. See
 12   Callie v. Near, 829 F.2d 888, 890-91 (9th Cir. 1987) (citation omitted) (“Whether
 13   the parties intended only to be bound upon the execution of a *891 written, signed
 14   agreement is a factual issue.”). And even if an oral agreement “was to be reduced to
 15   writing, it is enforceable if the intent that it be binding was manifested by the
 16   parties.” See TH&T Int'l Corp. v. Elgin Indus., Inc., 216 F.3d 1084, at *1 (9th Cir.
 17   2000).
 18         Here, it is indisputable that the Parties intended to be bound by the
 19   settlement. The settlement was the result of a series of counter offers. (Smith Decl.
 20   ¶ 17.) Throughout the settlement discussions, Powerline’s counsel continually
 21   pressed the need for the case to settle because Powerline was no longer operational
 22   and counsel not pay any sort of sizeable judgment. (Id.) On or around March 10,
 23   2020, Plaintiff’s counsel explained that if Powerline wanted to settle the case it
 24   would need to make a final offer. (Id. ¶ 18.) After conferring with her client,
 25   Powerline’s counsel submitted a final offer to settle the case. (Id. ¶ 19.) On March
 26   11, 2020, Plaintiff accepted the offer via telephone. (Id. ¶ 20.) Thereafter, the
 27   Parties discussed who should draft the settlement agreement and how to inform the
 28
                                  MOTION TO ENFORCE SETTLEMENT
                                                -9 -
Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 14 of 17 Page ID #:324




  1   Court that the Parties had reached an agreement. (Id. ¶¶ 22-23.) Plaintiff agreed to
  2   memorialize the Parties’ agreement and to inform Judge McCormick of the
  3   agreement. (Id.)
  4         On March 11, 2020, Plaintiff sent an email to Judge McCormick stated that
  5   the Parties had reached a settlement to resolve the litigation and requested that the
  6   Court vacate the discovery hearing scheduled for that day. (Id. ¶ 24; see also
  7   Exhibit B.) Powerline’s counsel was included on the email and sent a subsequent
  8   email to Judge McCormick’s clerk thanking her for confirming that no appearances
  9   were required for the hearing. (Smith Decl. ¶ 25; see also Exhibit B.) Plaintiff
 10   would not have agreed to terminate the discovery hearing if he reasonably believed
 11   that the Parties had not entered into a binding agreement. (Smith Decl. ¶ 26.) The
 12   Parties also ceased all discovery related activities and focused their energy on
 13   finalizing the settlement. (Id. ¶ 27.)
 14         On March 12, 2020, Plaintiff sent Powerline’s counsel the draft settlement
 15   agreement, which memorialized the Parties’ agreement. (Id. ¶ 29.) Despite
 16   Powerline’s counsel’s insistence that the agreement be executed as quickly as
 17   possible, Powerline provided no edits to the proposed agreement. (Id. ¶ 30.) On
 18   March 17, 2020, Plaintiff reached out via email to Powerline’s counsel regarding
 19   the status of the settlement agreement. (Id. ¶ 31; see also Exhibit D.) Powerline’s
 20   counsel responded the next day requesting that Plaintiff “[p]lease be patient as we
 21   are in a national emergency.” (Smith Decl. ¶ 32; see also Exhibit D.) On April 8,
 22   2020, Plaintiff followed up again to request an update on the status of the settlement
 23   agreement. (Smith Decl. ¶ 33.) It was not until on or around April 17, 2020 that
 24   Powerline’s counsel informed Plaintiff that it would not go through with the
 25   Parties’ agreement. (Id. ¶ 34.) The only explanation offered was that the pandemic
 26   had put stress on every business. (Id.) It is worth noting that throughout the
 27   settlement discussions, Powerline has repeatedly maintained that it is not
 28
                                  MOTION TO ENFORCE SETTLEMENT
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Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 15 of 17 Page ID #:325




  1   operational. (Id. ¶¶ 11, 17.) As such, any suggestion that Powerline was severely
  2   affected by the pandemic should be viewed with extreme skepticism.
  3         Finally, on May 29, 2020, the Parties conferred regarding the present motion.
  4   (Smith Decl. ¶ 36.) During the call, Plaintiff’s counsel explained that the Parties had
  5   reached an agreement for a specific sum and now Powerline is refusing to pay the
  6   agreed upon price. (Id.) Powerline’s counsel conceded that the Parties had reached
  7   an agreement for a specific sum. (Id.) Still, she stated that Powerline would not go
  8   through with the original agreement. (Id.)
  9         In short, the Parties intended to be bound by the proposed settlement
 10   agreement. Now, seeing an opportunity to avoid payment, Powerline has decided to
 11   renege on the agreement. The Court should not indulge Powerline’s desires to avoid
 12   its obligations. Instead, the Court should find that the Parties intended to be bound
 13   by the agreement and enter an Order enforcing the settlement agreement.
 14   IV.   Conclusion
 15         For the foregoing reasons, the Court should grant Plaintiff’s Motion to
 16   Enforce Settlement. Plaintiff has established that the Parties reached an agreement
 17   on all necessary terms and intended to actually be bound by the agreement.
 18   Consequently, the Court should enter an Order granting Plaintiff’s Motion to
 19   Enforce Settlement and for such other relief as this Court deems necessary and just.
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 21                                          Respectfully Submitted,
 22
                                             MARIANO BENITEZ, individually and on
 23                                          behalf of all others similarly situated,
 24
      Dated: June 12, 2020                   By: /s/ Taylor T. Smith
 25
                                                     One of Plaintiff’s Attorneys
 26
 27                                          Aaron D. Aftergood (239853)
                                             aaron@aftergoodesq.com
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                                 MOTION TO ENFORCE SETTLEMENT
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Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 16 of 17 Page ID #:326




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                             MOTION TO ENFORCE SETTLEMENT
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Case 8:19-cv-00098-JLS-DFM Document 69 Filed 06/12/20 Page 17 of 17 Page ID #:327




  1                            CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via Court’s
  4   ECF system on June 12, 2020.
  5                                                 /s/ Taylor T. Smith
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